                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MANNY CHONG,
 THANE GALLO,

 and all others similarly situated,

        Plaintiffs,
                                                           Civil Action No. 1:20-10844-RGS
        v.
 NORTHEASTERN UNIVERSITY,

        Defendant.


                          DEFENDANT’S MOTION TO DISMISS
                      THIRD AMENDED CLASS ACTION COMPLAINT

       Pursuant to Fed. R. Civ. P. 12(b)(6), Local Rule 7.1(b) and this Court’s Order of October

6, 2020, and for the reasons more fully stated in the accompanying Memorandum of Law and

Affidavit of Jim Lemmon, Jr., Defendant Northeastern University hereby moves to dismiss all of

the claims in the Third Amended Class Action Complaint in the above-captioned action for failure

to state a claim. In summary, despite further amendment of their pleading, Plaintiffs Chong and

Gallo continue to fail to plausibly allege any contractual promise of continued in-person instruction

and use of campus facilities during the coronavirus pandemic, and make a challenge to the quality

of their education that is not legally cognizable. Plaintiffs’ claims for unjust enrichment disregard

this Court’s previous Order dismissing those same claims, which are foreclosed by the parties’

contractual relationship, including Northeastern’s specific written reservation of the discretion to

substitute alternatives to scheduled classes and academic activities, and disclaimer of liability for

events beyond the University’s control.




                                                 1
       WHEREFORE, Defendant respectfully requests that this Court grant the Motion and

dismiss the Third Amended Class Action Complaint with prejudice.



                                                    Respectfully submitted,

 Dated: October 27, 2020                            NORTHEASTERN UNIVERSITY

                                                    By its attorneys,

                                                    /s/ John A. Shope
                                                    John A. Shope, BBO #562056
                                                    Rachel C. Hutchinson, BBO #696739
                                                    Foley Hoag LLP
                                                    155 Seaport Blvd.
                                                    Boston, MA 02210
                                                    Tel: 617-832-1000
                                                    jshope@foleyhoag.com
                                                    rhutchinson@foleyhoag.com


                                                    Victoria L. Steinberg, BBO #666482
                                                    Daniel J. Cloherty, BBO #565772
                                                    Rebecca M. O’Brien, BBO #693592
                                                    Todd & Weld LLP
                                                    One Federal Street, 27th Floor
                                                    Boston, MA 02210
                                                    (617)720-2626
                                                    vsteinberg@toddweld.com
                                                    dcloherty@toddweld.com
                                                    robrien@toddweld.com




                              CERTIFICATE OF CONFERENCE
       In accordance with Local Rule 7.1(a)(2), I certify that I conferred with counsel for Chong

and Gallo prior to filing this Motion and the parties were unable to reach agreement.

                                                      /s/ John A. Shope
                                                      John A. Shope



                                                2
                                CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of October, 2020, I electronically filed the foregoing

document using the CM/ECF system, which will send notification of such to all counsel of record

via the CM/ECF system.

                                                     /s/ Rachel C. Hutchinson
                                                     Rachel C. Hutchinson




                                                3
FH5199124.1
